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1                             UNITED STATES DISTRICT COURT
2                                    DISTRICT OF NEVADA
3     NICHOLAS JOHNSON,                                  Case No. 2:24-cv-01069-APG-DJA
4                                           Plaintiff                   ORDER
5           v.
6     HIGH DESERT STATE PRISON, et al.,
7                                      Defendants
8
9          Pro se plaintiff Nicholas Johnson, an inmate in the custody of the Nevada
10   Department of Corrections, has submitted a complaint under 42 U.S.C. § 1983 and a
11   motion for a temporary restraining order. (ECF Nos. 1-1, 3). Plaintiff has neither paid the
12   full $405 filing fee for this matter nor filed an application to proceed in forma pauperis.
13   (See ECF No. 1). In his motion for a temporary restraining order, Plaintiff states that he
14   requested financial documents to file with an application to proceed in forma pauperis,
15   but the Defendants refused to process his request. (ECF No. 3 at 3).
16   I.    DISCUSSION
17         The United States District Court for the District of Nevada must collect filing fees
18   from parties initiating civil actions. 28 U.S.C. § 1914(a). As of December 1, 2023, the fee
19   for filing a civil-rights action is $405, which includes the $350 filing fee and the $55
20   administrative fee. See 28 U.S.C. § 1914(b). “Any person who is unable to prepay the
21   fees in a civil case may apply to the court for leave to proceed in forma pauperis.” Nev.
22   Loc. R. Prac. LSR 1-1. For an inmate to apply for in forma pauperis status, the inmate
23   must submit all three of the following documents to the Court: (1) a completed
24   Application to Proceed in Forma Pauperis for Inmate, which is pages 1–3 of the
25   Court’s approved form, that is properly signed by the inmate twice on page 3; (2) a
26   completed Financial Certificate, which is page 4 of the Court’s approved form, that is
27   properly signed by both the inmate and a prison or jail official; and (3) a copy of the
28   inmate’s prison or jail trust fund account statement for the previous six-month
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1    period. See 28 U.S.C. § 1915(a)(1)–(2); Nev. Loc. R. Prac. LSR 1-2. In forma pauperis
2    status does not relieve an inmate of his or her obligation to pay the filing fee, it just means
3    that the inmate can pay the fee in installments. See 28 U.S.C. § 1915(b).
4           In the event Plaintiff is not able to acquire the required financial certificate and
5    inmate account statement for the previous six-month period from prison officials, Plaintiff
6    may file a declaration detailing when he requested the documents, who he spoke to about
7    the status of the documents, who he followed up with after he did not receive the
8    documents, and their responses. Plaintiff’s declaration shall include dates of his requests,
9    dates of his follow-up requests, names of the prison officials that he spoke to about the
10   matter, and their responses. If Plaintiff’s declaration demonstrates that he has done all
11   that was possible to acquire the documents from prison officials, the Court will consider
12   his application to proceed in forma pauperis complete. 1
13   II.    CONCLUSION
14          It is therefore ordered that Plaintiff has until August 19, 2024, to either pay the full
15   $405 filing fee or file a fully complete application to proceed in forma pauperis with all
16   three required documents: (1) a completed application with the inmate’s two signatures
17   on page 3, (2) a completed financial certificate that is signed both by the inmate and the
18   prison or jail official, and (3) a copy of the inmate’s trust fund account statement for the
19   previous six-month period.
20          It is further ordered that if Plaintiff is not able to obtain his financial certificate and
21   inmate account statement from prison officials, Plaintiff shall file the first three pages of the
22   application to proceed in forma pauperis together with a declaration detailing the efforts he
23   took to acquire the financial certificate and inmate account statement from prison officials.
24          Plaintiff is cautioned that this action will be subject to dismissal without prejudice if
25   Plaintiff fails to timely comply with this order. A dismissal without prejudice allows Plaintiff
26
            1 Plaintiff must still submit the first three pages of the application to proceed in forma
27   pauperis on this Court’s approved form with his declaration. If Plaintiff does not submit the
     first three pages of the application to proceed in forma pauperis with the declaration, the
28   Court will recommend dismissal of this case without prejudice for Plaintiff to open a new
     case when he is able to acquire the required documents.

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1    to refile the case with the Court, under a new case number, when Plaintiff can file a
2    complete application to proceed in forma pauperis or pay the required filing fee.
3           The Clerk of the Court is directed to send Plaintiff Nicholas Johnson the approved
4    form application to proceed in forma pauperis for an inmate and instructions for the same
5    and retain the complaint (ECF No. 1-1) but not file it at this time.
6
7           DATED THIS 21st day of June 2024.
8
9                                               UNITED STATES MAGISTRATE JUDGE
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